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FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA

ex rel. John King & Tammy Drummond

CIVIL ACTION No 06-2662
TRANSFERRED FROM EASTERN
DISTRICT OF PENNSYLVANIA

and John King & Tammy Drummond,

CIVIL ACTION No. 03-3561

Individually, et al.

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Plaintiffs,

§
SOLVAY S.A. etal.

§
Defendants.

DECLARATION OF LORI KING

I, Lori King, declare as follows:

1. John King and I were married at the time that he filed the lawsuit that is referenced in the
caption above.

2. After Solvay fired John his depression was such that it was | who took the initial steps
towards reporting off-label marketing and kickbacks to the FDA. | was not employed
outside of or home at the time, and it seemed like a way that I could help him at a time
when J otherwise felt helpless. I began emailing the FDA at general email addresses such
as or similar to druginfowfda hhs gov, in May 2002. At least some of the email addresses
I] emailed to at the FDA were via online intake forms such that they did not produce a
“sent email” within my email account. In any case, unfortunately the computer I used is
long since gone, and I do not appear to have any printouts of emails trom that timeframe

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All of my communications concerned off-label marketing and kickbacks as to the three
drugs at issue, plus Estratest as well.

By about June of 2002 | began calling the FDA. It took many calls and substantive
voicemail messages before I was routed towards those in the agency who said they were
the right people to talk to. Again, all of my communications concerned off-label
marketing and kickbacks as to the three drugs at issue, plus Estratest as well.

After this went on for several weeks, I believe it was criminal agents with FDA who took
an interest. In about August of 2002, John, who had the firsthand information, began a
series of lengthy phone conversations with these agents. At this time it was not Michael
Cummins with whom we were in touch, though he became involved later. I do not know
the names of the agents with whom John spoke during this period. I do remember very
clearly that he spoke with them a minimum of 10 to 12 times during this timeframe. |
know that because for all of these conversations I was in the room and listening to John
talk about what happened. Very often, he held the phone up so that we could both listen
to the agent speak. At first, it was John who was offering his account; later, the agents
did more of the questioning and asked pointed questions about the events at issue. It was
clear that an investigation had been opened.

During these conversations, John spoke about Luvox, Aceon, and AndroGel, and
Estratest, too. He talked about both off-label promotion and kickbacks. [| remember that
the agents were particularly interested in Luvox, but that he also discussed AndroGel
with them on many occasions. I clearly remember that in discussing AndroGel with the
agents, John specifically said Solvay was urging that men get needlessly screened and
tested for testosterone levels, and urging that even men with normal levels should be
prescribed AndroGel. He talked about how Solvay would have sales representatives say
that for men with no previous testosterone tests, we couldn’t know what their normal
levels were, and whether they had precipitously dropped even though they were in the
normal range. He also talked about marketing AndroGel to men with HIV/AIDS and to
women. I remember these subjects so well because at the tme | had been poring over
John’s documents from the company and was (and am) very disturbed by what I saw and
heard. Solvay’s promotions seemed very personal to us because John had personally
recommended some of these drugs to family members, some of whom seemed to us to
then worsen or have other adverse effects.

As a result of these conversations, the FDA agents told us they wanted to visit John and
me in Mobile, Alabama to interview him further. The trip was planned and flights were
booked for late December 2002 or early January 2003. Just before the interview,
however, John met with and hired Joel Androphy, who ultimately decided to postpone
the FDA interview. I am sure of the date frame because I made Joel’s hotel reservation in
Mobile and because I remember clearly that Joel’s visit was scheduled for just before the
FDA’s. In fact, Joel’s visit happened the Monday or Tuesday of the same week that the
FDA planned to come.

I have always been an enthusiastic supporter of John’s suit against Solvay, and | have
continued to follow what I can even since our divorce several years ago. In fact, I have a

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w filings in the case I had not heard from John about

Pacer account allowing me to vie
of John and

the Court’s March 3 Order applying the public disclosure bar to some
Tammy’s AndroGel claims when I first read the Order on March 6.

When I read the Order, I was alarmed because T saw that the Court apparently was
unaware of John’s early and lengthy conversations with FDA agents that happened before
he hired Berg & Androphy. | reached out to John because | was troubled by this, and
after discussing John’s and my early contact with the FDA at length, Sarah Frazier of
Berg & Androphy asked me to verify and sign this declaration.

| declare under penalty of perjury that the foregoing is trugand correct.
5 ee ,
Dat Lori King on

 

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